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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

IN RE:                                 §
                                       §
BAY AREA REGIONAL MEDICAL CENTER, LLC, §                    BANKRUPTCY NO. 19-70013-EVR
                                       §
DEBTOR.                                §                    CHAPTER 7



                    TRUSTEE’S MOTION TO MODIFY EXECUTORY CONTRACT
               WITH AGILE CONSULTING GROUP, INC. TO REDUCE CONTINGENT FEE




         BLR 9013 Notice: This motion seeks an order that may adversely affect
         you. If you oppose the motion, you should immediately contact the moving
         party to resolve the dispute. If you and the moving party cannot agree, you
         must file a response and send a copy to the moving party. You must file
         and serve your response within 21 days of the date this was served on you.
         Your response must state why the motion should not be granted. If you do
         not file a timely response, the relief may be granted without further notice
         to you. If you oppose the motion and have not reached an agreement, you
         must attend the hearing. Unless the parties agree otherwise, the court may
         consider evidence at the hearing and may decide the motion at the hearing.

         Represented parties should act through their attorney.

TO THE HONORABLE EDUARDO V. RODRIGUEZ, UNITED STATES BANKRUPTCY JUDGE:

         Catherine S. Curtis, Trustee (the “Trustee”) in this Chapter 7 case, by and through her

counsel Pulman, Cappuccio & Pullen, LLP, hereby files Trustee’s Motion to Modify Executory

Contract with Agile Consulting Group, Inc. to Reduce Contingent Fee (the “Motion”),

respectfully showing the Court as follows:

                                I.     JURISDICTION AND VENUE

         1.     This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.


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          2.    On January 10, 2019, Debtor filed a voluntary petition under Chapter 7 of title 11

of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”). [ECF

No. 1].

          3.    The statutory predicate for the relief Debtor seeks is 11 U.S.C. § 365.

          4.    Attached hereto as Exhibit A is the proposed order approving Trustee’s Motion.


                                       II.     BACKGROUND

          5.    On April 10, 2017, Debtor executed a contract (the “Contract”) with Agile

Consulting Group, Inc. (“Agile”). A copy of the contract is attached to this Motion as Exhibit B.

          6.    Within the Contract, Agile agreed to provide consulting services regarding sales

and use taxes, excise taxes, communication services taxes and any other operating taxes, and to

secure credits or refunds of such taxes. Exhibit B, at 1. Agile has estimated that the Debtor may

be entitled to a sales tax refund in the amount of $960,546.26. Debtor agreed to pay Agile for their

services on a contingency fee basis based upon the total amount funds received through the tax

refund process. Id. Debtor agreed to pay Agile 40% of any refunds and credits received as a result

of Agile’s services. Id.

          7.    On April 19, 2018, Agile filed the first request for a sales tax refund for Debtor.

          8.    On or around May 4, 2018, Debtor ceased operating as a medical hospital.

          9.    On August 14, 2018, Agile filed a supplemental request for a sales tax refund for

Debtor.

          10.   On August 28, 2018, Agile filed a second supplemental request for a sales tax

refund for Debtor.




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         11.   On March 8, 2019, the Court entered its Order Extending Deadline to Accept or

Reject Executory Contracts, extending the deadline for the Trustee to accept or reject executory

contracts until June 10, 2019. [ECF No. 74].

         12.   On April 3, 2019, Trustee filed her Motion to Assume Executory Contract with

Agile Consulting Group, Inc. [ECF No. 95].

         13.   On April 26, 2019, the Court entered its Order Granting Trustee’s Motion to

Assume Executory Contract with Agile Consulting Group, Inc [ECF No. 113].

         14.   In the interim, Agile collected assignment of rights letters from vendors and

continued to follow up on the previous refund requests. On September 3, 2020, Agile filed an

additional supplemental refund request. In February of 2021, Agile learned that there may be a

statute of limitations issue as to the refunds requested on September 2, 2020. After consideration

of the issue, the Trustee determined that litigation was in the best interest of the Estate.

         15.   On May 4, 2021, Trustee filed her Application to Employ Hughes Watters

Askanase, LLP as Special Litigation Counsel to the Chapter 7 Trustee [ECF No. [387].

         16.   On May 27, 2021, the Court entered its Order Approving Trustee’s Application to

Employ Hughes Watters Askanase, LLP as Special Litigation Counsel to the Trustee [ECF No.

389].

         17.   Based on the need to commence litigation to recover the sales tax refunds, Agile

agreed to reduce its contingency fee percentage. This reduction allows for payment of Agile and

Trustee’s special counsel for their work, while providing a meaningful distribution to creditors.

The Sales & Use Tax Consulting Agreement attached as Exhibit C (“Revised Contract”),

provides for a reduced contingency fee percentage of fifteen percent (15%).




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                              III.    RELIEF REQUESTED

         18.   By this Motion, Trustee requests the Court authorize the Trustee to enter into the

Revised Contract with Agile, pursuant to 11 U.S.C. § 365(a) and Fed. R. Bankr. P. 6006.

                             IV.     AUTHORITIES AND ARGUMENTS

         19.   Section 365(a) of the Bankruptcy Code provides that a trustee may assume any

executory contract or unexpired lease, subject to the court’s approval. 11 U.S.C. § 365(a).

         20.   The Fifth Circuit has held that an executory contract may be assumed as long as the

assumption is made with proper business judgment. Richmond Leasing Co. v. Capital Bank, N.A.,

762 F.2d 1303, 1308-09 (5th Cir. 1985). Courts apply the “business judgment test,” requiring the

showing that the proposed course of action will be advantageous to the estate and the decision be

based on sound business judgment. In re Idearc Inc., 423 B.R. 138, 162 (Bankr. N.D. Tex. 2009)

subsequently aff’d sub nom. In re Idearc, Inc., 662 F.3d 315 (5th Cir. 2011). As long as the

assumption of an executory contract appears to benefit a debtor’s estate, a court should only deny

the request if business judgment is clearly erroneous or contrary to the Bankruptcy Code.

Richmond Leasing Co., 762 F.2d at 1308. (quoting Allied Tech., Inc. v. R.B. Brunemann & Sons,

25 B.R. 484, 495 (Bankr. S.D. Ohio 1982)).

         21.   Entry into the Revised Contract is in the best interest of the Debtor’s estate and its

creditors, as Agile is qualified to provide tax advise and experienced in obtaining sales tax

refunds. By entering into the Revised Contract, the Trustee will receive substantial assets in the

form of sales tax refunds, which will in turn increase the estate assets for maximum distribution

to creditors. In the Trustee’s business judgment, continued employment of Agile will provide

efficient administration in obtaining the sales tax refunds.

         22.   Therefore, the Trustee respectfully requests that the Court enter an order

authorizing her to enter into the Revised Contract with Agile.


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         WHEREFORE, Trustee respectfully requests that the Court enter an order authorizing her

to enter into the Revised Contract with Agile, and for such other relief, both at law and in equity to

which the Trustee may be justly entitled.



                                               Respectfully submitted,

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                                                  San Antonio, Texas 78213
                                                  www.pulmanlaw.com
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                                                      ATTORNEYS FOR CATHERINE S. CURTIS,
                                                      CHAPTER 7 TRUSTEE FOR THE ESTATE OF
                                                      BAY AREA REGIONAL MEDICAL CENTER,
                                                      LLC




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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served on
July 27, 2021 via the Court’s CM/ECF System as indicated below.

Via CM/ECF fuqua@fuqualegal.com                     Via CM/ECF darren@lawofficedm.com
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Austin, Texas 78701                                 Houston, Texas 77002

                                                    Via CM/ECF rpatel@winstead.com
                                                    Rakhee V. Patel
                                                    Winstead PC
                                                    2728 N. Harwood Street, Suite 500
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                                                    /s/Thomas Rice
                                                    Thomas Rice



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                    EXHIBIT A




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

IN RE:                                 §
                                       §
BAY AREA REGIONAL MEDICAL CENTER, LLC, §                       BANKRUPTCY NO. 19-70013-EVR
                                       §
DEBTOR.                                §                       CHAPTER 7




     AGREED ORDER GRANTING TRUSTEE’S MOTION TO ASSUME EXECUTORY CONTRACT
          WITH AGILE CONSULTING GROUP, INC. TO REDUCE CONTINGENT FEE



         On this date came on to be heard the Trustee’s Motion to Assume Executory Contract

with Agile Consulting Group, Inc. to Reduce Contingent Fee (the “Motion”). Based on the

representations made in the Motion, the Court finds that (i) it has jurisdiction of the matters raised

in the Motion pursuant to 28 U.S.C. 157 and 1334; (ii) this is a core proceeding pursuant to 28

U.S.C. 157(b)(2); (iii) the relief requested in the Motion is in the best interest of the Debtor’s

estate and creditors; (iv) no amounts are due to cure; (v) proper and adequate notice of the

Motion has been given and no further notice is necessary; (vi) no objections to the Motion have

been filed; and (vii) based upon the record herein, after due deliberation, good and sufficient

cause exists for the granting of the Motion in all respects.

         IT IS, THEREFORE, ORDERED that pursuant to section 365 of the Bankruptcy Code,

the Trustee is authorized to modify the executory contract with Agile Consulting Group, Inc., on

behalf of the Estate.




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                 EXHIBIT B
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                                 Sales & Use Tax Consulting Agreement
This Agreement is made and entered into as of this date as noted in the signature block by and between Agile Consulting
Group, Inc. (“Agile”), located at 3295 River Exchange Dr., Suite 165, Norcross, GA 30092 and Bay Area Regional Medical
Center, LLC (“Customer”), located at 200 Blossom St., Webster, TX 77598.
          Customer wishes to contract with Agile to identify areas where sales and use taxes have been paid or accrued in
error or in excessive amounts, and to secure credits or refunds of such taxes. If the examination shows that Customer is
entitled to tax savings or refunds, Agile will process these savings and refunds only after receiving permission from
Customer.
          1. Services to be Provided. Working within all applicable statutes, regulations, court decisions, and other legal
guidelines, Agile will use its best efforts to identify where sales and use taxes have been inappropriately billed by vendors or
paid in error by Customer. As items are identified for possible refund or credit, Agile will (i) prepare and assemble all
documentation necessary to affect a refund from the state government; (ii) prepare communications for Customer to send to
its suppliers and/or vendors to obtain relevant information; (iii) perform administrative functions related to (i) and (ii), for
example analyzing responses from suppliers, vendors or state tax authorities. Agile will be responsible for (a) responding to
all inquiries from suppliers, vendors or state tax authorities regarding the refund claims or amended returns; and (b) handling
any audit activity resulting from the filing of a refund claim or amended return. Customer reserves the right to decline filing
any refund claim, amended return or notice to vendor regarding a tax refund or savings opportunity identified by Agile.
          2. Covenants. Customer agrees to cooperate with Agile and to provide Agile with reasonable access to all sales tax
returns filed for all periods within the open statute of limitations, along with available supporting documentation for each
return. Customer also agrees to provide records of payments to vendors where sales taxes may have been charged in error.
Customer will make reasonable working space, convenient to the required records, along with copying facilities available to
Agile. Where feasible and mutually acceptable between the parties, portions of the work may be done at the offices of
Agile.
         3. Compensation. The parties agree that Agile’s compensation will be 15% of any refunds, credits or reduction in
taxes received as a result of the services rendered under this Agreement. Compensation is billable when refunds and credit
memos are received or savings are realized. Agile’s bills are payable upon presentation to Customer. Payment for the entire
invoice amount is due within thirty (30) days from the invoice date. Any invoiced amounts not paid in full by that date will
accrue interest at the rate of 1.5% per month until paid.
         4. Expenses. It is agreed that the compensation set forth in Section 3 above will be the only monetary
responsibility Customer has to Agile under this Agreement.
        5. Use of Customer’s Logo. Customer agrees that Agile may use Customer’s company logo in Agile’s future
marketing materials.
         6. Termination. This Agreement may be terminated by either party upon thirty (30) days notice to the other party.
In the event of termination, Customer will compensate Agile as set forth in Section 3 above for all refunds and credits in
process as a result of issues identified by Agile on the termination date. Upon final conclusion of Agile’s services, Agile
will promptly return to Customer all documents and items provided to Agile by Customer.
          7. Confidentiality. Agile acknowledges that it will receive information and documents from Customer of a
confidential nature and agrees to use such information and documents only for the purposes of this Agreement and that it
will treat such information as confidential.

In witness whereof the parties have executed this Agreement on the day and year written below.

    Agile Consulting Group, Inc.                                Bay Area Regional Medical Center, LLC

    _____________________________                               _____________________________________________
    Aaron C. Giles, Managing Principal                          Signature

                                                                Catherine Stone Curts        Trustee
                                                                _____________________________________________
                                                                Print Name                           Title

                                                                7-22-2021
                                                                _____________________________________________
                                                                Date
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